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       CONTINUATION OF APPLICATION FOR SEARCH WARRANT

      I, Marcel Behnen, being duly sworn, depose and state that:

                                    Introduction

      1.     I am a Task Force Officer with the United States Drug Enforcement

Administration, United States Department of Justice, and have been so since March

2019. I have been a police officer with the Kalamazoo Department of Public Safety

for about 16.5 years, the 8.5 of which I have been assigned as an investigator with

the Kalamazoo Valley Enforcement Team (KVET), which is tasked with

investigating narcotics trafficking. I am currently assigned to the Grand Rapids

District Office in the DEA’s Detroit Field Division. During my time as a KVET

Investigator, I have participated in investigations of unlawful drug trafficking and,

among other things, have conducted or participated in surveillance, the execution of

search warrants, debriefings of informants, reviews of taped conversations and drug

records, and have participated in investigations that included the interception of

wire and electronic communications. Through my training, education and

experience, I have become familiar with the manner in which illegal drugs are

transported, stored, and distributed, the methods of payment for such drugs, the

laundering of narcotics proceeds, and the dialect, lingo, and coded language used by

narcotics traffickers. In connection with my duties, I investigate criminal violations

of the Federal and State controlled substance laws including, but not limited to,

conspiracy and attempt to possess with intent to distribute and to distribute

controlled substances, in violation of 21 U.S.C. § 846; possession with intent to

distribute and distribution of controlled substances, in violation of 21 U.S.C. §
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841(a)(1); use of communication facilities to facilitate drug trafficking offenses, in

violation of 21 U.S.C. § 843(b), conspiracy to commit money laundering, in violation

of 18 U.S.C. § 1956(h) and money laundering, in violation of 18 U.S.C. §

1956(a)(1)(A)(i), 18 U.S.C. § 1956(a)(1)(B)(i), and 18 U.S.C.§ 1957.

      2.        I make this application under Rule 41 of the Federal Rules of Criminal

Procedure for a search warrant authorizing the examination of the following

electronic devices (hereinafter “Subject Devices”) and their contents:

           a.       Subject Device 1: black Hot Pepper, model HPPL62A flip-phone,

                    IMEI 358371951776890, with no case.

           b.       Subject Device 2: black iPhone 14, unknown model, unknown

                    IMEI, with no case.

           c.       Subject Device 3: black iPhone 14 Plus, unknown model,

                    unknown IMEI, with no case.

The Subject Devices were seized in the parking lot of Roosevelt Hill Apartments

near 1334 Sherwood Avenue, Kalamazoo, MI, during the arrest of Devine SPENCER

on September 17, 2024. Subject Devices 1 & 2 were seized from SPENCER’s

person, Subject Device 3 was seized from SPENCER’s 1983 Chevrolet Caprice.

The Subject Devices have remained in the custody of law enforcement.

      3.        The applied-for warrant would authorize the forensic examination of

the Subject Devices identified above and in Attachment A for the purpose of

identifying electronically stored data particularly described in Attachment B.




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      4.     I submit that there is probable cause to believe that evidence of

Possession with Intent to Distribute Controlled Substances, in violation of 21 U.S.C

§ 841(a)(1), will be found on the Subject Devices.

      5.     The facts in this continuation come from my personal observations, my

training and experience, and information obtained from other law enforcement

officers, agents, and witnesses. This application is intended to show merely that

there is probable cause for the requested search of the Subject Devices and does

not set forth all of my knowledge about this matter.

                                 Probable Cause

Background

      6.     Devine SPENCER is a 27-year-old resident of Kalamazoo, MI.

      7.     SPENCER’s has felony convictions for carrying a concealed weapon

(2017) and fleeing/eluding police (2022).

SPENCER is a Drug Trafficker

      8.     In late 2023, a KVET confidential source 1 (CS) advised investigators

that he/she could purchase crack cocaine and/fentanyl from SPENCER, who resided

at 1334 Sherwood Ave, Kalamazoo, MI. The CS also advised that he/she contacted

SPENCER by telephone at 313-721-2615.

      9.     Between December 1, 2023, and February 7, 2024, KVET investigators




1 The KVET CS had conducted over 10 successful controlled buys under the direction

of KVET and provided information to investigators on multiple occasions resulting in
arrests and drug and weapon seizures. The CS is/was cooperating with KVET for
monetary gain.
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conducted three controlled buys from SPENCER utilizing the KVET CS. All three

controlled buys were arranged by contacting SPENCER at 313-721-2615 and all

three were successful in purchasing fentanyl or crack cocaine from SPENCER.

      10.    On February 8, 2024, KVET investigators executed a State of Michigan

search warrant at 1334 Sherwood Ave, Kalamazoo, MI. In addition to the search

warrant, SPENCER was on felony probation for a 2022 felony fleeing/eluding

conviction out of the 9th Circuit Court in Kalamazoo, MI. As part of his probation

conditions, SPENCER was subject to a search clause 2 of his person and residence.

      11.    During the execution of the search warrant, SPENCER was detained

in the driveway of 1334 Sherwood Ave. Two cell phones and $2,830 US Currency

were located on SPENCER’s person.

      12.    During the search of the residence, investigators located approximately

29 grams of crack cocaine, 278 grams of methamphetamine, and 215 grams of

fentanyl in SPENCER’s bedroom (northeast bedroom). Additional evidence of drug

trafficking was also located in the bedroom to include digital scales, a plate with

fentanyl residue, sandwich bags, lottery tickets, a blender and a currency counter.

      13.    SPENCER was arrested on a probation violation charge and lodged at

the Kalamazoo County Jail.

      14.    Analysis of the “Hot Pepper” flip-phone located on SPENCER’s person




2 Order of Probation – Docket B220508-FH – Condition 4.24 “You submit to a search

of your person and property, including but not limited to your vehicle, residence, and
computer, without need of a warrant, if the field agent has reasonable cause to
believe you have items which violate the conditions of your probation.”
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showed the device has phone number 313-721-2615, the number provided by the

KVET CS and used to arrange the controlled buys and also showed additional

evidence of drug trafficking in the form of text messages.

      15.    Based on this conduct, on September 11, 2024, SPENCER was indicted

by a federal grand jury in the Western District of Michigan, charging him possession

with intent to distribute controlled substances, in violation of 21 U.S.C. § 841(a)(1).

A federal arrest warrant was issued for SPENCER on the same date. (Case 1:24-cr-

00129-JMB)

 SPENCER’s Arrest and Seizures of Subject Devices 1-3

      16.    On September 17, 2024, KVET investigators located SPENCER at

Roosevelt Hill Apartments near 1334 Sherwood Avenue, Kalamazoo, MI. SPENCER

entered his black 1983 Chevrolet Caprice and appeared to be speaking with a male

that had arrived in a tan pickup truck. KVET investigators moved in and arrested

SPENCER on the outstanding federal arrest warrant. During a search of his person,

Subject Device 1 and Subject Device 2 were located and seized.

      17.    Investigators contacted the driver of the tan pickup truck, NL. NL

stated he came to Roosevelt Hill Apartments to purchase drugs from SPENCER, 3

specifically $10 worth of methamphetamine. NL said he contacted SPENCER at

313-721-2615 (same phone number from the Dec’23-Feb’24 investigation). NL added

he purchases methamphetamine from SPENCER once a week and always comes to



3 NL did not know SPENCER’s real name, but identified him as the person arrested

by law enforcement. NL knew him as “Kriss” which is also what he was saved as in
NL’s phone.
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this location.

       18.       I called phone number 313-721-2615, the number used by NL to contact

SPENCER to arrange the purchase of methamphetamine, and Subject Device 1

rang, and my phone number appeared on the display.

       19.       Additionally, I had obtained results from a DEA/DOJ administrative

subpoena on September 9, 2024, for 313-721-2615, which showed the subscriber to

be “Devine Spencer-Bowden” with an address of 1334 Sherwood Ave, Kalamazoo,

MI.

       20.       A KDPS K-9 gave an alert for the presence of controlled substances on

SPENCER’s Chevrolet Caprice. During the search of the vehicle, no controlled

substances were located, however lottery tickets were located, a common item used

for packaging controlled substances by drug traffickers. Subject Device 3 was also

located in the vehicle on the front bench.

       21.       KVET investigators secured 1334 Sherwood Ave, Kalamazoo for a

search warrant. That same day, a Kalamazoo County magistrate/judge signed the

search warrant.

       22.       During the execution of the search warrant, no one else was located

inside.

       23.       During a search of the apartment, in the same northeast bedroom,

identified as SPENCER’s during the February 8, 2024 search, investigators located

additional evidence of drug trafficking to include lottery tickets, 2 digital scales,

inositol powder, and two baggies with a grey compressed powder I believed to be



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heroin/fentanyl based on their appearance and their presence in an inositol bottle

(common cutting agent for heroin/fentanyl).

            a.    The compress grey powder was submitted to the DEA laboratory

                  for testing and was determined to be 28.793 grams of a mixture of

                  N, N-Dimethylpentylone and Bromazolam.

            b.    N, N-Dimethylpentylone is a schedule I controlled substance.

                  Bromazolam is not federally controlled.

      24.    SPENCER was arrested on the outstanding federal warrant and lodged

at the Kalamazoo County Jail, pending transfer to the USMS on Grand Rapids, MI

the following day.

      25.    The Subject Devices were seized by law enforcement and have

remained in the custody of KVET in Kalamazoo, MI since.

      26.    Based on my training and experience, I know that drug traffickers

frequently use more than one cell phone to conduct their drug trafficking business.

For example, I have encountered drug dealers that use one cell phone/phone number

to communicate with their suppliers, and a separate cell phone/phone number to

communicate with their customers.

      27.    Based upon my training, experience, and participation in drug

investigations and financial investigations relating to drug investigations, I am also

aware of the following:

             a.      Drug traffickers often keep names, aliases, and/or contact

      information of suppliers, purchasers, and others involved in drug trafficking in



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    their devices.

          b.     Drug    traffickers   sometimes   use   electronic   messaging    or

    messaging apps, in addition to MMS, SMS text messages, and voice call, to

    communicate with suppliers, purchasers, and others involved in drug

    trafficking on their devices.

          b.     Drug traffickers often take pictures or videos of their drug

    trafficking associates, drugs, money and/or firearms, which they store on their

    devices.

          d.     Global Position System (GPS) data on phones may show the

    location of a drug trafficker at a given time, which may provide corroborating

    evidence of a drug delivery or other instance of drug trafficking.

          e.     It is common for persons involved in drug trafficking to maintain

    evidence pertaining to their obtaining, secreting, transfer, concealment and or

    expenditure of drug proceeds. This evidence includes currency, financial

    instruments, records, invoices, receipts, records of real estate transactions,

    bank statements and related records, passbooks, money drafts, letters of

    credit, and records concerning storage lockers. These and other items are

    maintained by the drug traffickers within their residences or other locations

    over which they maintain dominion and control.

          f.     That when drug traffickers amass large proceeds from the sale of

    controlled substances that the drug traffickers attempt to legitimize these

    profits through money laundering activities. To accomplish these goals, drug



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      traffickers utilize but are not limited to, domestic and international banks and

      their attendant services, professionals such as attorneys and accountants,

      casinos, real estate, shell corporations and business fronts, storage lockers,

      safe deposit boxes and otherwise legitimate businesses that generate large

      quantities of currency.

            g.     User attribution data and usernames, passwords, documents, and

      browsing history can provide evidence that the device is being used by a drug

      trafficker and can provide other useful evidence to the drug investigation; and

            h.     Drug traffickers often use the internet to look up various

      information to support their drug trafficking activities.

                                 Technical Terms

      28.   Based on my training and experience, I use the following technical terms

to convey the following meanings:

            a.     Wireless telephone: A wireless telephone (or mobile telephone, or

      cellular telephone) is a handheld wireless device used for voice and data

      communication through radio signals. These telephones send signals through

      networks of transmitter/receivers, enabling communication with other

      wireless telephones or traditional “land line” telephones. A wireless telephone

      usually contains a “call log,” which records the telephone number, date, and

      time of calls made to and from the phone.        In addition to enabling voice

      communications, wireless telephones offer a broad range of capabilities. These

      capabilities include: storing names and phone numbers in electronic “address



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      books;” sending, receiving, and storing text messages and e-mail; taking,

      sending, receiving, and storing still photographs and moving video; storing and

      playing back audio files; storing dates, appointments, and other information

      on personal calendars; and accessing and downloading information from the

      Internet.   Wireless telephones may also include global positioning system

      (“GPS”) technology for determining the location of the device.

            b.     Digital camera:     A digital camera is a camera that records

      pictures as digital picture files, rather than by using photographic film. Digital

      cameras use a variety of fixed and removable storage media to store their

      recorded images. Images can usually be retrieved by connecting the camera to

      a computer or by connecting the removable storage medium to a separate

      reader. Removable storage media include various types of flash memory cards

      or miniature hard drives. Most digital cameras also include a screen for

      viewing the stored images. This storage media can contain any digital data,

      including data unrelated to photographs or videos.

            c.     Portable media player: A portable media player (or “MP3 Player”

      or iPod) is a handheld digital storage device designed primarily to store and

      play audio, video, or photographic files. However, a portable media player can

      also store other digital data. Some portable media players can use removable

      storage media.    Removable storage media include various types of flash

      memory cards or miniature hard drives. This removable storage media can

      also store any digital data. Depending on the model, a portable media player



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      may have the ability to store very large amounts of electronic data and may

      offer additional features such as a calendar, contact list, clock, or games.

            d.     GPS:    A GPS navigation device uses the Global Positioning

      System to display its current location. It often contains records the locations

      where it has been. Some GPS navigation devices can give a user driving or

      walking directions to another location. These devices can contain records of

      the addresses or locations involved in such navigation. The Global Positioning

      System (generally abbreviated “GPS”) consists of 24 NAVSTAR satellites

      orbiting the Earth. Each satellite contains an extremely accurate clock. Each

      satellite repeatedly transmits by radio a mathematical representation of the

      current time, combined with a special sequence of numbers. These signals are

      sent by radio, using specifications that are publicly available. A GPS antenna

      on Earth can receive those signals. When a GPS antenna receives signals from

      at least four satellites, a computer connected to that antenna can

      mathematically calculate the antenna’s latitude, longitude, and sometimes

      altitude with a high level of precision.

            e.     PDA:     A personal digital assistant, or PDA, is a handheld

      electronic device used for storing data (such as names, addresses,

      appointments or notes) and utilizing computer programs. Some PDAs also

      function as wireless communication devices and are used to access the Internet

      and send and receive e-mail. PDAs usually include a memory card or other

      removable storage media for storing data and a keyboard and/or touch screen



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      for entering data. Removable storage media include various types of flash

      memory cards or miniature hard drives. This removable storage media can

      store any digital data. Most PDAs run computer software, giving them many

      of the same capabilities as personal computers. For example, PDA users can

      work with word-processing documents, spreadsheets, and presentations.

      PDAs may also include global positioning system (“GPS”) technology for

      determining the location of the device.

             f.    IP Address: An internet protocol address (or simply “IP address”)

      is a unique numeric address used by computers on the internet. An IP address

      is a series of four numbers, each in the range 0-255, separated by periods (e.g.,

      121.56.97.178). Every computer attached to the internet must be assigned an

      IP address so that internet traffic sent from and directed to that computer may

      be directed properly from its source to its destination. Most internet service

      providers control a range of IP addresses. Some computers have static—that

      is, long-term—IP addresses, while other computers have dynamic—that is,

      frequently changed—IP addresses.

      29.    Based on my training, experience, and research, I know that the

Subject Devices have capabilities that allows it to serve as a wireless telephone,

digital camera, portable media player, GPS navigation device, and/or PDA. In my

training and experience, examining data stored on devices of this type can uncover,

among other things, evidence that reveals or suggests who possessed or used the

devices and other evidence of drug trafficking.



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                   Electronic Storage and Forensic Analysis

      30.    Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods of time. Similarly, things that have

been viewed via the internet are typically stored for some period of time on the device.

This information can sometimes be recovered with forensics tools.

      31.    Forensic evidence.     As further described in Attachment B, this

application seeks permission to locate not only electronically stored information that

might serve as direct evidence of the crimes described on the warrant, but also

forensic evidence that establishes how the Subject Devices were used, the purpose

of its use, who used it, and when. There is probable cause to believe that this forensic

electronic evidence might be on the Subject Devices because:

             a.     Data on the storage medium can provide evidence of a file that

      was once on the storage medium but has since been deleted or edited, or of a

      deleted portion of a file (such as a paragraph that has been deleted from a word

      processing file).

             b.     Forensic evidence on a device can also indicate who has used or

      controlled the device. This “user attribution” evidence is analogous to the

      search for “indicia of occupancy” while executing a search warrant at a

      residence.

             c.     A person with appropriate familiarity with how an electronic

      device works may, after examining this forensic evidence in its proper context,




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      be able to draw conclusions about how electronic devices were used, the

      purpose of their use, who used them, and when.

             d.    The process of identifying the exact electronically stored

      information on a storage medium that are necessary to draw an accurate

      conclusion is a dynamic process. Electronic evidence is not always data that

      can be merely reviewed by a review team and passed along to investigators.

      Whether data stored on a computer is evidence may depend on other

      information stored on the computer and the application of knowledge about

      how a computer behaves.      Therefore, contextual information necessary to

      understand other evidence also falls within the scope of the warrant.

             e.    Further, in finding evidence of how a device was used, the purpose

      of its use, who used it, and when, sometimes it is necessary to establish that a

      particular thing is not present on a storage medium.

      32.    Nature of examination. Based on the foregoing, and consistent with

Rule 41(e)(2)(B), the warrant I am applying for would permit the examination of the

Subject Devices consistent with the warrant.         The examination may require

authorities to employ techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of the device to human

inspection in order to determine whether it is evidence described by the warrant.

      33.    Manner of execution. Because this warrant seeks only permission to

examine devices already in law enforcement’s possession, the execution of this

warrant does not involve the physical intrusion onto a premises. Consequently, I



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submit there is reasonable cause for the Court to authorize execution of the warrant

at any time in the day or night.

                                   CONCLUSION

      34.    I submit that this application supports probable cause for a search

warrant authorizing the examination of the Subject Devices described in

Attachment A to seek the evidence of drug trafficking described in Attachment B.




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